                                                                  Case
                                                                   Case2:16-cr-00349-RFB
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                                                             5    Henderson, Nevada 89012
                                                                  Telephone: 702.463.9074
                                                             6
                                                                  Attorneys for Erica Balda
                                                             7
                                                                                                 UNITED STATES DISTRICT COURT
                                                             8
                                                                                                        DISTRICT OF NEVADA
                                                             9
                                                                    UNITED STATES OF AMERICA,                           CASE NO.: 2:16-cr-00349-RFB
                                                             10
                                                                                        Plaintiff;
                                                             11
                                                                                                                        STIPULATION TO EXTEND DEADLINE
1070 W. HORIZON RIDGE PKWY., SUITE 202




                                                                          vs.                                           FOR REPLY IN SUPPORT OF MOTION
  KATHLEEN BLISS LAW PLLC




                                                             12
                                                                                                                        TO SUPPRESS AND PROPOSED ORDER
                                                                    ERICA M. BALDA, et. al.,
      HENDERSON, NEVADA 89012




                                                             13
                                                                                                                        (First request)
                                                             14
                                         TEL: 702.463.9074




                                                                                        Defendants.
                                                             15

                                                             16          IT IS HEREBY STIPULATED AND AGREED, by and between Jared Grimmer, Assistant

                                                             17   United States Attorney, counsel for the United States of America, and Kathleen Bliss, Esq., counsel

                                                             18   for defendant Erica Balda, that the deadline in which Ms. Balda must file her reply brief in support

                                                             19   of her motion to suppress (ECF No. 35) currently due April 14, 2017, be extend by seven (7) days

                                                             20   to and including April 21, 2017. This stipulation is entered into for the following reasons:

                                                             21          1. The defendant is in custody but does not oppose the continuance.

                                                             22          2. The parties agree to the continuance.

                                                             23          3. The additional time requested herein is not sought for purposes of delay.

                                                             24          4. Counsel for defendant requires additional time to prepare the reply, taking into account

                                                             25                 the exercise of due diligence.

                                                             26          5. Denial of this request for continuance could result in a miscarriage of justice.

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                                                                         6. This is the first stipulation to extend the reply date request in this case. Trial is set for
                                                             2
                                                                             July 11, 2017, thus it is submitted that the short extension requested herein will not
                                                             3
                                                                             impact the trial date.
                                                             4

                                                             5
                                                                  Dated this 12th day of April 2017.
                                                             6

                                                             7

                                                             8    _/s/ Kathleen Bliss_____________                               _/s/ Jared Grimmer__________
                                                                  KATHLEEN BLISS, ESQ.                                           JARED GRIMMER
                                                             9    Counsel for defendant Erica Balda                              Assistant United States Attorney
                                                             10                                                                  Counsel for the United States

                                                             11
1070 W. HORIZON RIDGE PKWY., SUITE 202
  KATHLEEN BLISS LAW PLLC




                                                             12
      HENDERSON, NEVADA 89012




                                                             13
                                                                                                                ORDER
                                                             14
                                         TEL: 702.463.9074




                                                                         Based upon the stipulation of counsel, and with good cause appearing, IT IS HEREBY
                                                             15   ORDERED that defendant’s reply brief in support of her motion to suppress (ECF No. 35)
                                                             16   currently due April 14, 2017, be extended by seven (7) days to, and including, April 21, 2017.
                                                             17                      13th day of April 2017.
                                                                         DATED this _______
                                                             18

                                                             19                                                  _______________________________
                                                                                                                 HONORABLE RICHARD F. BOULWARE II
                                                             20                                                  UNITED STATES DISTRICT JUDGE
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